8/31/2021                                                                                                                 13Network Login

                                                                                                                                                           Krispen Carroll Detroit MI (dtc)

                             13Network                                           Enter Case Number, Name, Social Security Number, or @1st Address Line:

 FREGO & ASSOCIATES, PLC Case Query                                                                                                                                          LogOut Now

 PROFILE | PARTIES | PAY SCHEDS | PAYEES | FINANCIALS | PLAN CALC 1 |
                                                                                                                      Recently Accessed Cases       18-56402-LSG DERRICK G RHYNES
  18-56402-LSG DERRICK G RHYNES                  (xxx-xx-1394) 13110 PRINCETON ST ● APT 6 ● TAYLOR ● MI ● 48180 $190.05 WK/ Bar Date(s):               2/14/2019 (has passed) 6/4/2019

                         BRITTNEY RHYNES (xxx-xx-1679)        13110 PRINCETON ST ● APT 6 ● TAYLOR ● MI ● 48180                       Confirmed:        8/3/2019
         Print Inquiry   Trustee: Krispen S. Carroll          Attorney: FREGO AND ASSOCIATES                                         Case Status:      OPEN/ACTIVE

 The data on these pages has not been audited and is provided for general information only.
                                   24 Month(s) since Confirmation UP = $0.00 TPI = $21,912.82 TPILR = $21,912.82 BOH = $121.43 BOH+FEES = $130.57
  Line               Name                  Claimed Amount     Mortgage Due    Coll / Value   Interest Rate       Monthly Payment       To Be Paid      Mo
       ATTORNEY FEE
     1            FREGO AND ASSOCIATES             $7,122.13
     2                  ADDED CREDITOR             $3,000.00                     $3,000.00                                                   $3,000.00
       OTHER ATTORNEY FEES
     3                  ADDED CREDITOR
       FORMER ATTORNEY
     4                  ADDED CREDITOR
       OTHER PROFESSIONAL FEES
     5                  ADDED CREDITOR
       DEBTOR REFUND
     6                DERRICK G RHYNES
       ARREARAGE - MORTGAGE/LAND CONTRACT
     7                  ADDED CREDITOR
       ARREARAGE - VEHICLE
     8                  ADDED CREDITOR
       ARREARAGE - OTHER
     9                  ADDED CREDITOR
       CONT'G DEBT (USE IN PLAN CALC)
    10                  ADDED CREDITOR
    11                  ADDED CREDITOR
       CURR MTG
    12                  ADDED CREDITOR
    13                  ADDED CREDITOR
       EXEC CONTRACT - VEHICLE
    14                  ADDED CREDITOR
       EXEC CONTRACT - NON-VEHICLE
    15                  ADDED CREDITOR
       POST-PET/PRE-CONF MTG PYMTS
    16                  ADDED CREDITOR
    17                  ADDED CREDITOR
       PRIORITY
    18        INTERNAL REVENUE SERVICE             $4,644.77
    19             STATE OF MICHIGAN CD            $5,023.51
    20                  ADDED CREDITOR
    21                  ADDED CREDITOR
       DSO CREDITOR - ARREARAGE
    22                  ADDED CREDITOR
    23                  ADDED CREDITOR
       DSO CREDITOR - CONTINUING
    24                  ADDED CREDITOR
    25                  ADDED CREDITOR
       PROP TAX
    26                  ADDED CREDITOR
   Change Line# 0               OK   Plan Terms 36            Calc    Unsecured % 0            Calc     Due to Creditors:        $0.00           $3,225.81
                                                                                                                          In from Debtor:                 $822.92            $29,647.80
   Restart
                                        Debtor 1 Pay Schedules                                                   Debtor 2 Pay Schedules
    Trustee's % 7
                                            Who's Paying           Amount            Schedule           Upd Calc    Who's Paying        Amount                         Schedule       Upd C
   Lump Sum $ 0.00                       PENSKE LOGISTIC        $190.05         WEEKLY                   $     ?     BRITTNEY RHYNES           $0.00              MONTHLY               $

     Delete Line 0            OK         DERRICK G RHYNE        $0.00           MONTHLY                  $     ?



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